Case 2:16-cv-00238-D Document 24 Filed 03/17/17 Page 1 of 1 Page|D 89

IN THE UNITED STATES DISTRICT COURT

 

FOR THE NORTHERN DISTRICT OF TEXAS '
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AMARILLO DIVISION

KIMBERLY D. POLLARD and J.S. (A
Minor Child),
PLAINTIFFS,

vs.
‘ CIVIL ACTION CAUSE NUMBER
CHURCH OF GOD IN »CHRIST, INC., an
Active Domestic Tennessee Nonprofit
Corporation, and CHURCH OF GOD IN
CHRIST, BOARD OF BISHOPS, and BISHOP
JAMES L’KEITH JONES,

2116-CV-238-J

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DEFENDANTS.
ORDER GRANTING MOTION FOR ENTRY OF DEFAULT JUDGMENT

Before the Court is the Plaintiffs’ motion, filed March 9, 2017, for entry of a final default
judgment against Defendant Bishop J ames L’Keith Jones. Defendant J ones has not filed a response
to this motion, has been personally served, but has not filed an answer or otherwise appeared in this
case. On March 2, 2017, the Clerk certified the facts that Defendant Jones had been served with
process but had not filed an answer to the Plaintiffs’ original complaint lt is clear from the record that
Defendant J ones was personally served, but failed to timely file an answer or otherwise timely respond

in this civil lawsuit. Plaintiffs’ motion for entry of a final default judgment is therefore granted

lt is SO ORDERED.

signedthisthe [;2/4 day OfMarch, 2017.

 

SENIOR UN ' ED STATES DISTRICT JUDGE

 

